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VIA ECF
The Honorable Steven C. Mannion
Martin Luther King Jr. Bldg. & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

        Re:      ACP GP, LLC, et al. v. United Home Care, Inc., et al
                 Docket No. 2:18-cv-08786

Dear Judge Mannion:

        This firm represents plaintiffs ACP GP, LLC and Alleon Capital Partners, LLC in the
above-referenced matter. We are endeavoring to reach a settlement as to all remaining defendants
in this matter. Accordingly, we write on behalf of all parties to respectfully request that the
conference currently scheduled for Monday, July 27, 2020 at 2:45 p.m. be adjourned to such date
and time as is convenient for the Court during the week following the Labor Day holiday.

      If this request should meet with the Court’s approval, we respectfully request that Your
Honor “So Order” this letter and have it entered on the docket.

       We thank the Court for its attention to this matter. If Your Honor or Your Honor’s staff
should have any questions or require anything further, we are always available.


                                                   Respectfully submitted,

                                                   s/ Stephen V. Falanga
                                                   Stephen V. Falanga


CC: All counsel of record (via ECF and email)
